Case 2:23-cv-01173-SPG-PVC Document 1-1 Filed 02/16/23 Page 1 of 16 Page ID #:14




                          Exhibit 1
                            Case 2:23-cv-01173-SPG-PVC Document 1-1 Filed 02/16/23 Page 2 of 16 Page ID #:15



                 Work            CRO Reg. No.                                                            Infringing Uses
1.    10 Second Countdown        SR0000849974   1.    http://www.facebook.com/MLS/videos/416959982553626/
2.    A Possible Solution        SR0000684553   2.    https://www.youtube.com/watch?v=ty6D_2Mvvsc
3.    Aerelius                   SR0000853656   3.    https://www.youtube.com/watch?v=7boaQ14MJJk
4.    After The Storm            SR0000905410   4.    https://www.lagalaxy.com/video/will-set-pieces-be-the-difference-between-la-and-seattle-insider-b-5573822566001
                                                5.    https://www.lagalaxy.com/video/can-the-la-galaxy-brave-the-cold-at-centurylink-field-insider-brea-5573812258001
                                                6.    https://www.mlssoccer.com/video/three-young-mls-players-primed-to-follow-in-deandre-yedlin-s-foots-5570032255001
                                                7.    https://www.youtube.com/watch?v=Oi5FEdNkRK0
                                                8.    https://www.youtube.com/watch?v=fU7GPc4JQnk
                                                9.    https://www.lagalaxy.com/video/la-galaxy-touch-down-in-portland-ahead-timbers-match-insider-on-lo-5573880244001
                                                10.   https://www.youtube.com/watch?v=Is3C2queLyo
5.    Ah Yeah                    SR0000816166   11.   https://www.youtube.com/watch?v=KVIzlz4GCi4
                                                12.   https://www.soundersfc.com/video/sounders-hold-first-ever-media-match-at-centurylink-field-6008723477001
6.    All Hope Is Gone           SR0000840688   13.   http://www.facebook.com/MLS/videos/340468141416350/
                                                14.   http://www.twitter.com/MLS/status/1479508044438462471
7.    All In                     SR0000931929   15.   https://www.mlssoccer.com/video/usa-mls2020-mag-01-6142077162001
                                                16.   https://www.youtube.com/watch?v=lbMiyu_I3Ss
8.    All Of Me                  SR0000860953   17.   https://www.mlssoccer.com/video/bill-hamid-on-hometown-team-dc-united-is-everything-for-me-and-my-6029995944001
9.    Android Overthrow          SR0000831625   18.   http://www.twitter.com/MLS/status/1479508044438462471
                                                19.   http://www.facebook.com/MLS/videos/340468141416350/
10.   Apache                     SR0000864427   20.   https://www.youtube.com/watch?v=9ScP80Z927Y
                                                21.   https://www.youtube.com/watch?v=R6kIKmTmZ8A
                                                22.   http://www.facebook.com/MLS/videos/615816292419763/
                                                23.   https://www.mlssoccer.com/video/mls-november-goals-of-the-month-v2-6209670925001
                                                24.   https://www.mlssoccer.com/video/the-best-goals-in-mls-from-october-goals-of-the-month-6207765344001
                                                25.   http://www.facebook.com/MLS/videos/384107706273753/
                                                26.   https://www.youtube.com/watch?v=ljssNZyfKbQ
                                                27.   https://www.mlssoccer.com/video/all-the-best-goals-from-september-in-mls-goals-of-the-month-6197616048001
11.   Arp Dreams                 SR0000928489   28.   http://www.twitter.com/MLS/status/1383820242598514695
                                                29.   https://www.youtube.com/watch?v=F9gudFStT8w
12.   Automata                   SR0000878288   30.   https://www.youtube.com/watch?v=7boaQ14MJJk
13.   Avalanche                  SR0000826742   31.   https://www.lagalaxy.com/video/slo-mo-la-galaxy-u14-s-take-on-manchester-united-at-the-la-galaxy-5761049364001
                                                32.   http://www.facebook.com/lagalaxy/videos/10155125224812035/
14.   Bad Ass Adventure          SR0000884083   33.   http://www.facebook.com/MLS/videos/742535252771058/
15.   Bad Boys                   SR0000755686   34.   https://www.mlssoccer.com/video/highlights-montreal-impact-vs-sporting-kansas-city-may-10-2014-5579756448001
                                                35.   https://www.cfmontreal.com/video/impact-0-3-sporting-kc-faits-saillants-highlights-5579791122001
                                                36.   https://www.youtube.com/watch?v=K-aqlnAOOEg
16.   Badass                     SR0000878320   37.   https://www.lagalaxy.com/video/teaser-la-galaxy-vs-philadelphia-union-april-29-2017-5574313485001
                                                38.   http://www.facebook.com/lagalaxy/videos/10154295940657035/
                                                39.   https://www.youtube.com/watch?v=FxDhzGn9vjY
                                                40.   http://www.facebook.com/lagalaxy/videos/10154303373427035/
                           Case 2:23-cv-01173-SPG-PVC Document 1-1 Filed 02/16/23 Page 3 of 16 Page ID #:16



17.   Balkan Business           SR0000856772   41.   http://www.instagram.com/p/CSIBzDtlVya
                                               42.   https://www.whitecapsfc.com/video/re-max-move-of-the-match-smooth-moves-dajome
                                               43.   http://www.facebook.com/whitecapsfc/videos/834429490799724/
18.   Bang                      SR0000842553   44.   https://www.mlssoccer.com/video/dom-dwyer-and-the-uswnt-go-off-topic-at-the-fifa-16-launch-party-o-5570245137001
                                               45.   https://www.youtube.com/watch?v=Z-Jlp9OSKGs
                                               46.   https://www.youtube.com/watch?v=WmOfhWQWido
19.   Base Jumper               SR0000816168   47.   http://www.facebook.com/MLS/videos/486958458380181
                                               48.   https://www.lagalaxy.com/video/joe-tutino-and-cobi-jones-breakdown-win-over-real-salt-lake-6206308828001
20.   Battery                   SR0000844388   49.   http://www.facebook.com/lagalaxy/videos/10155373572312035/
                                               50.   https://www.youtube.com/watch?v=m-TkvCEVBKI
                                               51.   https://www.lagalaxy.com/video/representing-los-angeles-how-the-la-riot-squad-get-stubhub-center-5813720955001
21.   Beautiful Life            SR0000840511   52.   https://www.mlssoccer.com/video/first-pitches-singing-sensations-and-paintball-around-the-league-5570444170001
                                               53.   https://www.youtube.com/watch?v=yERD3gBgtbw
22.   Being Human               SR0000928489   54.   https://www.mlssoccer.com/video/mls2020-mib-a-orl-mia-feat-nc-6170207356001
23.   Better Go                 SR0000874976   55.   https://www.mlssoccer.com/video/big-moments-wild-finish-new-sj-coach-chris-leitch-s-first-cali-cla-5559838681001
24.   Big West Skye             SR0000311342   56.   https://www.youtube.com/watch?v=j1saBTWGQdg
25.   Black Vanilla             SR0000844797   57.   https://www.mlssoccer.com/video/rivalry-week-empire-state-building-lights-up-blue-for-nycfc-5570210513001
                                               58.   http://www.facebook.com/lagalaxy/videos/10152931915057035/
                                               59.   https://www.youtube.com/watch?v=3xylS_MBPhs
                                               60.   https://www.youtube.com/watch?v=LGrTt_ELBRo
                                               61.   http://www.facebook.com/MLS/videos/10153426046548887/
                                               62.   https://www.youtube.com/watch?v=qgjZAsqzXUs
                                               63.   http://www.facebook.com/lagalaxy/videos/10152892327382035/
                                               64.   https://www.youtube.com/watch?v=HL7oH2Xc3oM
                                               65.   https://www.lagalaxy.com/video/keane-gerrard-husidic-and-delagarza-knock-down-signs-chevy-colorad-5573966555001
                                               66.   https://www.lagalaxy.com/video/robbie-keane-and-steven-gerrard-settle-the-score-chevy-colorado-5-5573975208001
                                               67.   https://www.lagalaxy.com/video/keane-gerrard-husidic-and-delagarza-bend-free-kicks-in-the-chevy-c-5573950711001
26.   Blockbuster               SR0000844797   68.   https://www.mlssoccer.com/video/all-goals-from-the-audi-2015-mls-cup-playoffs-knockout-round-5570257825001
                                               69.   https://www.youtube.com/watch?v=Tm3ZKz2Y_tM
27.   Breakfast With You        SR0000864471   70.   http://www.instagram.com/p/BFCj08mBRT8
                                               71.   https://www.lagalaxy.com/video/celebrate-mother-s-day-with-the-la-galaxy-this-sunday-5574115396001
                                               72.   https://www.youtube.com/watch?v=RzDG0WIXGSg
28.   Brownstone Hangout        SR0000844388   73.   https://www.lagalaxy.com/video/representing-los-angeles-the-story-of-the-angel-city-brigade-5825511783001
                                               74.   https://www.youtube.com/watch?v=7Xf-x4MMMqw
                                               75.   http://www.instagram.com/p/BmzvGKlhN00
29.   Burning Soul              SR0000841281   76.   https://www.youtube.com/watch?v=G1KCNMqQ6Kg
30.   California Chillin        SR0000850757   77.   http://www.facebook.com/lagalaxy/videos/2237035406517447/
                                               78.   https://www.youtube.com/watch?v=aa3aKQZ93sw
                                               79.   https://www.lagalaxy.com/video/representing-los-angeles-tailgates-and-friends-one-woman-s-bond-wi-5822605381001
31.   Can You Hear Me?          SR0000875005   80.   https://www.youtube.com/watch?v=FOT8lDSGwYs
                                               81.   http://www.facebook.com/lagalaxy/videos/10154084348157035/
                                               82.   http://www.facebook.com/lagalaxy/videos/10153895705612035/
                           Case 2:23-cv-01173-SPG-PVC Document 1-1 Filed 02/16/23 Page 4 of 16 Page ID #:17



                                                83.    https://www.lagalaxy.com/video/highlights-the-best-of-alan-gordon-in-2016-5574259565001
                                                84.    https://www.youtube.com/watch?v=VTW8KE5tyBg
                                                85.    https://www.lagalaxy.com/video/congrats-jvd-la-galaxy-sign-defender-jelle-van-damme-to-contract-e-5574256551001
                                                86.    https://www.youtube.com/watch?v=-1JC-zuOdc0
                                                87.    http://www.facebook.com/lagalaxy/videos/10154152370807035/
                                                88.    http://www.facebook.com/lagalaxy/videos/10153992914667035/
                                                89.    http://www.facebook.com/lagalaxy/videos/10153945880352035/
                                                90.    http://www.facebook.com/lagalaxy/videos/10154069656917035/
                                                91.    http://www.instagram.com/p/BOF6b_zA_1c
                                                92.    http://www.facebook.com/lagalaxy/videos/10153977920187035/
                                                93.    https://www.lagalaxy.com/video/on-this-day-in-2016-the-la-galaxy-signed-jelle-van-damme-5574256547001
                                                94.    https://www.lagalaxy.com/video/highlights-the-best-of-jelle-van-damme-in-2016-5574262336001
32.   Champion                   SR0000752337   95.    https://www.youtube.com/watch?v=Xno8VxHBiyA
33.   Chronobreak                SR0000853656   96.    https://www.youtube.com/watch?v=noBif4_IYsM
34.   Cinematic Hip Hop Reveal   SR0000718367   97.    https://www.youtube.com/watch?v=XrUFTQzTpbQ
                                                98.    https://www.mlssoccer.com/video/dramatic-winner-keeps-lafc-undefeated-week-4-6029441568001
35.   City Of Harp               SR0000905409   99.    https://www.youtube.com/watch?v=fUogHVUyiK8
                                                100.   https://www.sjearthquakes.com/video/the-greatest-mls-cup-playoff-game-ever-playoff-moments-5859353924001
                                                101.   http://www.facebook.com/MLS/videos/739881686366868/
                                                102.   http://www.facebook.com/MLS/videos/746236985731338/
                                                103.   https://www.youtube.com/watch?v=DBLlNUNJ7iM
                                                104.   https://www.mlssoccer.com/video/the-greatest-mls-cup-playoff-game-ever-playoff-moments-5858973928001
                                                105.   http://www.facebook.com/MLS/videos/1090839357937764/
                                                106.   http://www.facebook.com/MLS/videos/1143544799333886/
36.   City Rap                   SR0000200138   107.   https://www.youtube.com/watch?v=gCwMk5x9XiE
37.   Clandestine                SR0000916188   108. https://www.youtube.com/watch?v=MfumxlYiG2c
                                                109. https://www.youtube.com/watch?v=0SHi197Ptk0
38.   Conjure                    SR0000928489   110. http://www.facebook.com/MLS/videos/1062127530908983/
39.   Cool Body                  SR0000843176   111.   https://www.youtube.com/watch?v=haDytQZR_D0
                                                112.   https://www.mlssoccer.com/video/draftkings-fantasy-player-of-the-month-for-october-2015-didier-dro-5570262741001
                                                113.   https://www.mlssoccer.com/video/jurgen-klinsmann-makes-squad-changes-ahead-of-usmnt-vs-switzerland-5570175973001
40.   Cursed                     SR0000619410   114.   https://www.youtube.com/watch?v=LHEe63ksN3Y
                                                115.   https://www.youtube.com/watch?v=TQhPtyhPiDY
                                                116.   http://www.facebook.com/impactmontreal/videos/428389641328/
41.   Cut Off                    SR0000857874   117.   http://www.facebook.com/MLS/videos/462045037732494/
42.   Day Of Reckoning           SR0000919397   118.   http://www.facebook.com/MLS/videos/462045037732494/
                                                119.   https://www.youtube.com/watch?v=AItPTEXO6t8
43.   Days Of Gloom              SR0000920858   120.   https://www.youtube.com/watch?v=VZIGLpC8DuU
                                                121.   https://www.lagalaxy.com/video/goals-romain-alessandrini-nets-a-brace-vs-new-york-red-bulls-5574333867001
                                                122.   https://www.youtube.com/watch?v=z5pfSqg3NMU
                                                123.   http://www.facebook.com/lagalaxy/videos/10154344645627035/
                                                124.   http://www.instagram.com/p/BUH4fuXlD3d
                             Case 2:23-cv-01173-SPG-PVC Document 1-1 Filed 02/16/23 Page 5 of 16 Page ID #:18



                                                 125.   http://www.facebook.com/lagalaxy/videos/10154249130432035/
                                                 126.   https://www.lagalaxy.com/video/slo-mo-goal-romain-alessandrini-opens-scoring-against-montreal-5574304672001
                                                 127.   http://www.instagram.com/p/BSoZfKGD2Q0
44.   Deep                        SR0000931646   128.   https://www.youtube.com/watch?v=pTy45o0kakE
                                                 129.   https://www.mlssoccer.com/video/mls2020-mib-01-vermes-6169723610001
45.   Deep And Dirty              SR0000752134   130.   https://www.youtube.com/watch?v=ngRw1ZdIVB0
46.   Deflect and Reflect         SR0000695714   131. https://www.youtube.com/watch?v=7MqxXlSEgpg
47.   Demolish                    SR0000773527   132. https://www.youtube.com/watch?v=6JXkHhAqzTM
48.   Direct Impact               SR0000718327   133. https://www.youtube.com/watch?v=rW77d5RT2h4
49.   Disciple                    SR0000786225   134. http://www.facebook.com/chicagofire/videos/10153224582029789
                                                 135. https://www.youtube.com/watch?v=uTRAavoFs2Y
50.   Drop The Hammer             SR0000814648   136. https://www.mlssoccer.com/video/behind-the-scenes-sporting-kc-lifts-the-us-open-cup-5586552335001
51.   Drum Thunder                SR0000926537   137. https://www.youtube.com/watch?v=0Oh6SThscd8
                                                 138. https://www.mlssoccer.com/video/usa-mls2020-hl-w02-6139916531001
52.   Dub Slam                    SR0000755086   139. https://www.youtube.com/watch?v=VypuNP_E9Ts
53.   Dunlop                      SR0000842402   140.   https://www.youtube.com/watch?v=uU5IuT_DNlA
                                                 141.   https://www.mlssoccer.com/video/surprise-starters-and-benchwarmers-in-week-1-mls-now-5570163983001
54.   Dust Groove                 SR0000779612   142.   https://www.mlssoccer.com/video/portland-stay-perfect-sounders-get-first-win-mls-review-show-week-5570428892001
                                                 143.   https://www.youtube.com/watch?v=TNlqyrOYlr4
                                                 144.   https://www.youtube.com/watch?v=0kEK7KDGhSM
                                                 145.   https://www.mlssoccer.com/video/mls-review-show-week-1-5570430180001
                                                 146.   https://www.youtube.com/watch?v=saKVnKUfVHM
                                                 147.   https://www.mlssoccer.com/video/petke-s-snowy-debut-win-wondo-s-goonies-magic-mls-review-show-week-5570430259001
                                                 148.   https://www.youtube.com/watch?v=Jo9Dy-xCojs
                                                 149.   https://www.mlssoccer.com/video/giovinco-s-back-in-form-mls-review-show-week-8-5570442506001
55.   Eilan's Oath                SR0000844805   150.   https://www.mlssoccer.com/video/celebrating-father-s-day-hanging-with-jelle-van-damme-around-the-l-5559818818001
                                                 151.   https://www.youtube.com/watch?v=PU7FxeRNDcM
56.   Electric                    SR0000391789   152.   http://www.instagram.com/p/BtuxfonjeKN
                                                 153.   https://www.youtube.com/watch?v=0IVSm4NqVZc
                                                 154.   https://www.lagalaxy.com/video/match-in-a-minute-la-galaxy-vs-toronto-fc-6000992031001
57.   Electroshock                SR0000816168   155.   http://www.facebook.com/MLS/videos/294220194527615
58.   Every Day Is For You        SR0000842404   156. https://www.mlssoccer.com/video/maurice-edu-is-motivated-mls-insider-presented-by-adidas-5569903438001
59.   Fearsome Best               SR0000817163   157.   https://www.mlssoccer.com/video/petke-s-snowy-debut-win-wondo-s-goonies-magic-mls-review-show-week-5570430259001
                                                 158.   https://www.youtube.com/watch?v=TNlqyrOYlr4
60.   Feel Alive                  SR0000842553   159.   https://www.lagalaxy.com/video/watch-all-of-landon-donovan-s-2014-goals-5573822242001
                                                 160.   http://www.facebook.com/MLS/videos/10152710023498887/
                                                 161.   https://www.youtube.com/watch?v=xvTYslw66k0
                                                 162.   https://www.youtube.com/watch?v=SsUpw7O3rdA
                                                 163.   https://www.mlssoccer.com/video/90-the-best-highlights-from-week-28-of-the-2014-season-5570027451001
61.   Fellini's Rome              SR0000879411   164.   http://www.facebook.com/MLS/videos/10153781222128887/
                                                 165.   https://www.mlssoccer.com/video/rachel-vs-rachel-mls-cup-edition-5570272943001
                             Case 2:23-cv-01173-SPG-PVC Document 1-1 Filed 02/16/23 Page 6 of 16 Page ID #:19



                                                 166. https://www.youtube.com/watch?v=054ln4xbBLU
62.   Fellini's Stories           SR0000879411   167.   http://www.facebook.com/CozmoLaGalaxy/videos/813551932116003/
                                                 168.   http://www.instagram.com/p/BQgGIU8DIEC
                                                 169.   https://www.lagalaxy.com/video/la-galaxy-players-have-a-special-valentine-s-day-message-for-cozmo-5574277284001
                                                 170.   https://www.youtube.com/watch?v=-9DidD5hXgo
                                                 171.   https://www.youtube.com/watch?v=EMfYmopHaJs
63.   Fight Club                  SR0000841355   172.   https://www.mlssoccer.com/video/red-bulls-clinch-playoff-spot-mls-review-show-week-31-5604209668001
64.   Fighting Heroes             SR0000891007   173. https://www.youtube.com/watch?v=Zaj0PvN67uY
65.   Final Showdown              SR0000853656   174. https://www.youtube.com/watch?v=eKdc9VBah00
66.   Finale                      SR0000782056   175. http://www.facebook.com/houstondynamo/videos/2043490745672285
67.   Finding Salvation           SR0000665378   176. https://www.youtube.com/watch?v=ty6D_2Mvvsc
68.   Finish Line                 SR0000891534   177. https://www.youtube.com/watch?v=2zrRgY-MUTM
69.   Fire Walk                   SR0000844388   178. https://www.youtube.com/watch?v=m-TkvCEVBKI
70.   Fired Up                    SR0000885027   179. https://www.youtube.com/watch?v=7TMrKj16or8
71.   Flatline                    SR0000907142   180. https://www.youtube.com/watch?v=olC5hl8QT3w
72.   Floating Emotion            SR0000788394   181. https://www.youtube.com/watch?v=kOomvbconqQ
                                                 182. https://www.youtube.com/watch?v=xu0mpPSkAz0
73.   Freaky Charly               SR0000843176   183. https://www.youtube.com/watch?v=tv6_gfkVOyQ
74.   Fresh Air                   SR0000700387   184. https://www.youtube.com/watch?v=kakRpwSDtdk
75.   Fully Charged               SR0000809903   185. https://www.mlssoccer.com/video/all-11-of-cyle-larin-s-mls-goals-with-orlando-city-sc-5570227061001
                                                 186. https://www.youtube.com/watch?v=PQpLWu3OkdA
76.   Funked Progress             SR0000814255   187. https://www.youtube.com/watch?v=VUHGtgADSiM
77.   Funky Bonze                 SR0000814184   188. https://www.youtube.com/watch?v=sJdcbpO_LdM
78.   Future Bass Place           SR0000878310   189. https://www.mlssoccer.com/video/breaking-down-all-the-storylines-you-need-to-follow-for-the-2018-s-5742300535001
79.   Futureproof                 SR0000782059   190. https://www.youtube.com/watch?v=PNtGYo3tQAU
80.   Fuzzy Ladies                SR0000850757   191. https://www.youtube.com/watch?v=IS_1j0sntRI
81.   Game Face On                SR0000890976   192.   https://www.cfmontreal.com/video/bande-annonce-l-impact-visite-new-york-city-fc-ce-samedi-a-13h-sur-6022050593001
                                                 193.   https://www.cfmontreal.com/video/bande-annonce-l-impact-visite-houston-samedi-a-17h-sur-tva-sports-6009868326001
                                                 194.   https://www.cfmontreal.com/video/bande-annonce-l-impact-visite-orlando-city-sc-samedi-a-16h-sur-tva-6013464719001
82.   Gas Light                   SR0000789375   195.   https://www.youtube.com/watch?v=gY-4rPlg-UM
83.   Get Grimey                  SR0000844295   196. https://www.mlssoccer.com/video/nycfc-fight-back-in-hudson-river-derby-mls-review-show-week-17-5570477077001
                                                 197. https://www.youtube.com/watch?v=IJerVVqyIY8
84.   Get Them In The Line        SR0000874976   198. https://www.youtube.com/watch?v=ZA8PBOyOg8s
85.   Ghetto Dreams               SR0000905191   199. https://www.lagalaxy.com/video/la-galaxy-throwback-challenge-extras-galaxythrowback-5574319961001
                                                 200. https://www.lagalaxy.com/video/la-galaxy-throwback-yo-yo-challenge-galaxythrowback-5574319950001
                                                 201. https://www.lagalaxy.com/video/la-galaxy-throwback-challenge-name-the-toy-galaxythrowback-5574313521001
                          Case 2:23-cv-01173-SPG-PVC Document 1-1 Filed 02/16/23 Page 7 of 16 Page ID #:20



                                              202.   http://www.facebook.com/lagalaxy/videos/10154318257272035/
                                              203.   https://www.youtube.com/watch?v=XN73YNPUjiE
                                              204.   https://www.youtube.com/watch?v=5NE9tPxoSS4
                                              205.   https://www.youtube.com/watch?v=mdvlobz9aQA
86.   Go As You Please         SR0000619407   206.   https://www.whitecapsfc.com/video/jacobson-settling-into-new-life-in-vancouver-5577697212001
                                              207.   https://www.youtube.com/watch?v=tfXbYy3en74
87.   Go Hard                  SR0000859726   208.   http://www.facebook.com/MLS/videos/603053860498457/
88.   Gonna Rage               SR0000916188   209. https://www.youtube.com/watch?v=gvmmiCuWmX0
89.   Good Day                 SR0000864471   210.   https://www.youtube.com/watch?v=XxwjiD-5Hz8
                                              211.   https://www.lagalaxy.com/video/la-galaxy-host-women-in-soccer-series-at-stubhub-center-5574354011001
                                              212.   https://www.lagalaxy.com/video/happy-earth-day-from-the-la-galaxy-5574321906001
90.   Grab The Chance          SR0000787449   213.   https://www.mlssoccer.com/video/nani-and-orlando-city-gaining-confidence-and-momentum
91.   Greenpoint Fresh         SR0000844388   214. https://www.lagalaxy.com/video/representing-los-angeles-the-la-galaxy-family-5828894678001
                                              215. http://www.instagram.com/p/BnHFpZthjle
92.   Gridiron Showdown        SR0000915004   216. https://www.youtube.com/watch?v=zIEyk_JoJUs
93.   Hadouk                   SR0000316670   217. http://www.instagram.com/p/BvC_M5ehsa0
94.   Happy Few                SR0000774487   218.   https://www.youtube.com/watch?v=Os8DU-C5maY
                                              219.   https://www.lagalaxy.com/video/la-galaxy-x-port-lbc-collaborate-to-host-a-series-of-2018-fifa-wor-5801130535001
95.   Harlem Sunrise           SR0000844388   220.   https://www.youtube.com/watch?v=aa3aKQZ93sw
                                              221.   https://www.lagalaxy.com/video/representing-los-angeles-tailgates-and-friends-one-woman-s-bond-wi-5822605381001
96.   Harmonium                SR0000356692   222.   http://www.facebook.com/MLS/videos/579083945857575/
97.   Haze                     SR0000914851   223. https://www.mlssoccer.com/video/usa-mls2020-hl-w08-6186321659001
                                              224. https://www.youtube.com/watch?v=gPy4vqGsXI0
98.   Heart Shine              SR0000906718   225. https://www.mlssoccer.com/video/cj-sapong-talks-philadelphia-union-s-early-season-success-mls-now-5570317039001
99.   Heroes Arise             SR0000814241   226.   https://www.youtube.com/watch?v=JOEXLzsI8lU
                                              227.   https://www.mlssoccer.com/video/usa-mls2019-hl-cup-6102692702001
100. Hero's Return             SR0000878321   228.   https://www.mlssoccer.com/video/sounders-strike-first-go-inside-the-passion-drama-of-seattle-color-5570399295001
                                              229.   https://www.youtube.com/watch?v=okjc8U8O6DI
101. High Rollin               SR0000921436   230.   https://www.youtube.com/watch?v=7boaQ14MJJk
102. Hit The Track             SR0000752342   231. https://www.youtube.com/watch?v=vc_2fQQVcdc
                                              232. https://www.rsl.com/video/highlights-rsl-at-municipal-august-4-2015-5573876538001
103. Hold Da Vinyl             SR0000931579   233. https://www.youtube.com/watch?v=BVTG6z7TG7g
104. Home Coming               SR0000841884   234. http://www.facebook.com/fcdallas/videos/373051950595307/
105. Hurried Man               SR0000628895   235.   https://www.mlssoccer.com/video/montero-mls36-compressed-mov-5569270964001
                                              236.   https://www.mlssoccer.com/video/mls-36-fredy-montero-5569279583001
106. Hustle                    SR0000844388   237.   http://www.facebook.com/lagalaxy/videos/10155355320462035/
                                              238.   https://www.lagalaxy.com/video/la-galaxy-2019-season-ticket-memberships-are-still-available-5829546175001
107. Hydra                     SR0000840688   239.   http://www.twitter.com/MLS/status/1479508044438462471
                                              240.   http://www.facebook.com/MLS/videos/340468141416350/
                               Case 2:23-cv-01173-SPG-PVC Document 1-1 Filed 02/16/23 Page 8 of 16 Page ID #:21



108. I Got You                      SR0000890976   241. https://www.mlssoccer.com/video/full-replay-columbus-crew-sc-vs-d-c-united-april-24-2019-6072740778001
109. I Still Care About Love        SR0000875005   242.   http://www.facebook.com/MLS/videos/10155368423543887/
                                                   243.   http://www.facebook.com/MLS/videos/10155482006483887/
                                                   244.   https://www.youtube.com/watch?v=IVLF__SiZH8
                                                   245.   https://www.youtube.com/watch?v=T6irwTbwXcc
                                                   246.   https://www.youtube.com/watch?v=Gt-5lNjk5_c
                                                   247.   https://www.youtube.com/watch?v=j-i2icUhGnM
                                                   248.   https://www.youtube.com/watch?v=DdGJU2EoyX8
                                                   249.   https://www.youtube.com/watch?v=lOblydhTFbM
                                                   250.   https://www.youtube.com/watch?v=fWfhQUC0u3s
                                                   251.   https://www.youtube.com/watch?v=F4ej5z_cvT0
                                                   252.   https://www.youtube.com/watch?v=GD_qgS8xsyg
                                                   253.   http://www.facebook.com/MLS/videos/10155841832898887/
                                                   254.   https://www.lagalaxy.com/video/best-of-around-the-league-top-club-produced-content-of-the-2016-ml-5574251964001
                                                   255.   https://www.youtube.com/watch?v=y6zuroHZbVU
                                                   256.   https://www.youtube.com/watch?v=Bm28PTg_I7I
                                                   257.   https://www.youtube.com/watch?v=AWY7AoJ_j5w
                                                   258.   https://www.youtube.com/watch?v=WLA9maTPtHI
                                                   259.   https://www.youtube.com/watch?v=BZdUHdfoCRs
                                                   260.   https://www.youtube.com/watch?v=bUXw7GPQutw
                                                   261.   https://www.youtube.com/watch?v=V89iUVPTGTw
                                                   262.   https://www.youtube.com/watch?v=1t37vCWyxAg
                                                   263.   https://www.youtube.com/watch?v=LnoHNHxNZ5s
                                                   264.   https://www.youtube.com/watch?v=_mBhEtdy_p4
                                                   265.   https://www.mlssoccer.com/video/best-of-around-the-league-top-club-produced-content-of-the-2016-ml-5570396029001
                                                   266.   http://www.facebook.com/MLS/videos/10155669031738887/
                                                   267.   http://www.facebook.com/MLS/videos/10155586380693887/
                                                   268.   https://www.youtube.com/watch?v=sDJPY_qhUR8
                                                   269.   https://www.youtube.com/watch?v=Ps95OVcm1cA
                                                   270.   http://www.facebook.com/MLS/videos/10155728841143887/
                                                   271.   https://www.youtube.com/watch?v=4rVhqTt3auo
                                                   272.   https://www.youtube.com/watch?v=E4DFz8NEzZg
                                                   273.   https://www.youtube.com/watch?v=FRpJ6LY-6yQ
                                                   274.   https://www.youtube.com/watch?v=ITbcUd5bKgM
                                                   275.   https://www.youtube.com/watch?v=u54y_19zOsg
                                                   276.   https://www.youtube.com/watch?v=oDGHfKBVj9Y
                                                   277.   https://www.youtube.com/watch?v=nyNKYXhzdIo
                                                   278.   https://www.youtube.com/watch?v=ME4UcM-NTDo
110. Ice Falling                    SR0000923170   279.   https://www.youtube.com/watch?v=q7BS7wYlU1I
                                                   280.   https://www.mlssoccer.com/video/fishmongers-and-street-soccer-get-me-in-there-seattle-5570337665001
                                                   281.   https://www.youtube.com/watch?v=07hb96QymY8
111. Idols                          SR0000841455   282.   https://www.houstondynamofc.com/video/tab-ramos-goals-and-highlights-in-mls-6097797682001
                                                   283.   https://www.mlssoccer.com/video/mls-superdraft-2016-josh-turnley-georgetown-5570282191001
                                                   284.   https://www.youtube.com/watch?v=ZN3i9dLnceo
                           Case 2:23-cv-01173-SPG-PVC Document 1-1 Filed 02/16/23 Page 9 of 16 Page ID #:22



                                                285.   http://www.facebook.com/lagalaxy/videos/10153202019417035/
                                                286.   https://www.mlssoccer.com/video/tab-ramos-goals-and-highlights-in-mls-5570192897001
                                                287.   https://www.mlssoccer.com/video/mls-superdraft-2016-josh-turnley-georgetown-5570263793001
                                                288.   http://www.twitter.com/HoustonDynamo/status/1187822386604892160
112. Ii Cucu                     SR0000281584   289.   http://www.facebook.com/MLS/videos/10155714695653887/
                                                290.   https://www.mlssoccer.com/video/pizza-with-valeri-hard-hitting-journalism-in-philly-around-the-lea-5577385800001
                                                291.   https://www.youtube.com/watch?v=JODoNdNbGp0
113. In & Out Of Fashion         SR0000879410   292.   http://www.facebook.com/MLS/videos/10153509193478887/
                                                293.   https://www.youtube.com/watch?v=7j1aiY8yLzE
                                                294.   https://www.mlssoccer.com/video/who-s-hot-who-s-not-at-mls-all-star-fashion-week-off-topic-with-ra-5570231837001
114. In Good Shape               SR0000864705   295.   http://www.facebook.com/lagalaxy/videos/10153954945387035/
                                                296.   https://www.youtube.com/watch?v=8ZXjTbkbFbQ
                                                297.   https://www.lagalaxy.com/video/how-does-cozmo-get-home-from-la-galaxy-games-he-takes-uber-5574202016001
                                                298.   https://www.lagalaxy.com/video/la-galaxy-visit-casa-herbalife-house-babylon-in-berlin-hallogalaxy-5574262369001
115. In March                    SR0000844812   299.   https://www.lagalaxy.com/video/la-galaxy-third-annual-la-galaxy-5k-foundation-5573924507001
                                                300.   https://www.youtube.com/watch?v=wM3IPMdz9BA
                                                301.   https://www.mlssoccer.com/video/etihad-airways-player-of-the-month-nominees-august-5570241646001
                                                302.   https://www.mlssoccer.com/video/happy-father-s-day-mls-players-with-their-sons-and-daughters-5570206279001
                                                303.   https://www.youtube.com/watch?v=dwXvTaNbbJs
                                                304.   https://www.lagalaxy.com/video/la-galaxy-go-11v11-during-training-galaxy-latest-5574035749001
                                                305.   http://www.facebook.com/lagalaxy/videos/10153214474457035/
116. In Motion                   SR0000917451   306.   https://www.youtube.com/watch?v=cJgY3hS1MQc
                                                307.   https://www.mlssoccer.com/video/usa-mls2020-po-preview-v2-6210480041001
117. Indigo                      SR0000842532   308.   https://www.youtube.com/watch?v=eoxbk_60Dxk
118. Inferno Of Disaster         SR0000884083   309. http://www.instagram.com/p/Bug7oTGA4vl
119. Inner Island                SR0000850757   310. https://www.youtube.com/watch?v=m-TkvCEVBKI
                                                311. http://www.facebook.com/lagalaxy/videos/10155373572312035/
120. It All Comes Down To This   SR0000933215   312. https://www.youtube.com/watch?v=sBluoRLUcGY
121. Ivory Coast                 SR0000923792   313.   https://www.youtube.com/watch?v=P9qCpKCx-OM
                                                314.   https://www.mlssoccer.com/video/drogba-the-king-montreal-soccer-culture-the-movement-presented-by-5570335682001
                                                315.   http://www.facebook.com/MLS/videos/10154762045738887/
                                                316.   https://www.youtube.com/watch?v=JYMhQIJJMjU
                                                317.   http://www.facebook.com/MLS/videos/10154303777988887/
122. Kaleidoscope                SR0000808794   318.   https://www.youtube.com/watch?v=vJCS7qVkWGQ
123. Keep Calm                   SR0000920858   319.   http://www.facebook.com/lagalaxy/videos/10152870881392035/
                                                320.   https://www.youtube.com/watch?v=aGDoAliN3f8
                                                321.   http://www.instagram.com/p/BVVh-OJlqkD
                                                322.   http://www.facebook.com/lagalaxy/videos/10154428099457035/
                                                323.   https://www.lagalaxy.com/video/oooh-la-la-stubhub-center-installs-a-new-second-videoboard-5574353937001
124. Kickin Off                  SR0000841355   324.   https://www.mlssoccer.com/video/full-replay-cincinnati-vs-real-salt-lake-april-19-2019-6072738154001
125. King Foo                    SR0000814184   325. https://www.youtube.com/watch?v=OY9Ad3vq0cc
                             Case 2:23-cv-01173-SPG-PVC Document 1-1 Filed 02/16/23 Page 10 of 16 Page ID #:23



126. Kotown                       SR0000844797   326.   http://www.facebook.com/MLS/videos/10153632542478887/
                                                 327.   https://www.youtube.com/watch?v=ar46gBJdGwM
127. La Visions                   SR0000850757   328.   http://www.facebook.com/lagalaxy/videos/10155386057002035/
                                                 329.   https://www.youtube.com/watch?v=Ax_Y1hjtp1U
128. Lashes                       SR0000631788   330.   https://www.youtube.com/watch?v=JZtLmLVCpOw
129. Laudate                      SR0000703691   331. https://www.youtube.com/watch?v=kOomvbconqQ
130. Lea                          SR0000841278   332.   https://www.mlssoccer.com/video/hristo-stoitchkov-goals-and-highlights-for-chicago-fire-and-d-c-un-5570196682001
                                                 333.   https://www.mlssoccer.com/video/200421-best-of-hristo-stoichkov-6152387316001
131. Leader                       SR0000826282   334.   https://www.youtube.com/watch?v=l-fWSnG-heg
                                                 335.   https://www.mlssoccer.com/video/another-mls-attendance-record-week-2-6029440429001
132. Leather Tomb                 SR0000697350   336.   https://www.youtube.com/watch?v=jwbdsooNdQs
133. Legacy                       SR0000853006   337. https://www.mlssoccer.com/video/mls-returns-showcasing-younger-talent-week-1-6029438501001
                                                 338. https://www.youtube.com/watch?v=BfTvB-O1k4Q
134. Letting Loose                SR0000841482   339. http://www.facebook.com/MLS/videos/462045037732494/
135. Light In The Darkness        SR0000878321   340. https://www.youtube.com/watch?v=fVuLlFR9hl4
                                                 341. https://www.mlssoccer.com/video/we-are-atlanta-united-5570420347001
136. Light It Up                  SR0000857874   342. http://www.facebook.com/MLS/videos/462045037732494/
137. Light Tension Task           SR0000931953   343.   https://www.youtube.com/watch?v=TOL2uptUoAM
                                                 344.   http://www.facebook.com/MLS/videos/726155628692910/
138. Lik                          SR0000841456   345.   https://www.youtube.com/watch?v=2t69gVCkOD0
                                                 346.   https://www.youtube.com/watch?v=9cnpw3g8-4g
                                                 347.   https://www.youtube.com/watch?v=8FDEFFA0tCo
                                                 348.   https://www.youtube.com/watch?v=rikgzpZvi6Y
                                                 349.   https://www.youtube.com/watch?v=2aO_VK7bjBY
                                                 350.   https://www.mlssoccer.com/video/young-and-ambitious-the-2014-new-england-revolution-5569781144001
                                                 351.   https://www.mlssoccer.com/video/previa-rumbo-la-copa-mls-2013-5569672721001
139. Listen And Learn             SR0000906718   352.   https://www.youtube.com/watch?v=in7uhAciWy8
140. Lithium                      SR0000782068   353. http://www.facebook.com/MLS/videos/542051599858320/
141. Love You                     SR0000878310   354. https://www.youtube.com/watch?v=3hT6ljM7Bi8
142. Luminous Nights              SR0000774332   355. https://www.youtube.com/watch?v=BxBYOem_A7g
143. Magic Audio Army             SR0000905410   356.   https://www.youtube.com/watch?v=RmqIb1OcwRo
                                                 357.   http://www.facebook.com/lagalaxy/videos/10153235597972035/
                                                 358.   https://www.lagalaxy.com/video/watch-the-best-of-ashley-cole-s-first-performance-for-the-la-galax-5574055700001
                                                 359.   https://www.youtube.com/watch?v=LNfEBjk9y8U
                                                 360.   https://www.lagalaxy.com/video/mlscup-mural-goes-up-in-downtown-la-5573836402001
144. Martyr                       SR0000717514   361.   https://www.youtube.com/watch?v=NIMXtw1wBqY
145. Memories Of A Soul           SR0000878321   362.   https://www.youtube.com/watch?v=fVuLlFR9hl4
                                                 363.   https://www.mlssoccer.com/video/we-are-atlanta-united-5570420347001
146. Messing Around               SR0000773148   364.   https://www.lagalaxy.com/video/la-galaxy-host-golf-tournament-presented-by-san-manuel-casino-at-p-5803217995001
                                                 365.   https://www.lagalaxy.com/video/la-galaxy-players-predict-who-will-win-the-world-cup-final-5809082155001
                           Case 2:23-cv-01173-SPG-PVC Document 1-1 Filed 02/16/23 Page 11 of 16 Page ID #:24



                                               366. http://www.facebook.com/lagalaxy/videos/10155344165817035/
147. Milano Fashion Week        SR0000879410   367. https://www.mlssoccer.com/video/who-s-hot-who-s-not-at-mls-all-star-fashion-week-off-topic-with-ra-5570231837001
148. Moonlight Sonata           SR0000878317   368.   https://www.mlssoccer.com/video/fc-cincinnati-5791081085001
                                               369.   https://www.youtube.com/watch?v=EPap7GPgB2k
                                               370.   http://www.facebook.com/MLS/videos/10156433368828887/
149. More Bounce                SR0000863315   371.   https://www.cfmontreal.com/video/bande-annonce-jour-decisif-en-mls-ce-dimanche-contre-le-new-englan-5852894450001
                                               372.   http://www.instagram.com/p/BpU3DTsHSXI
150. Motivation                 SR0000700387   373.   https://www.mlssoccer.com/video/inside-soccer-monthly-july-2013-5570014482001
151. My Motivation              SR0000890976   374. https://www.youtube.com/watch?v=JHLosl7cTrs
152. My Satellite               SR0000842553   375.   http://www.facebook.com/MLS/videos/10153419515198887/
                                               376.   https://www.mlssoccer.com/video/all-aboard-the-hype-train-mls-young-guns-shine-mls-now-5570176001001
                                               377.   https://www.youtube.com/watch?v=eja-Kf5UIx4
                                               378.   https://www.youtube.com/watch?v=vYh3s3W2LMc
                                               379.   https://www.youtube.com/watch?v=vAtTex74gWw
                                               380.   https://www.mlssoccer.com/video/jurgen-klinsmann-names-us-national-team-roster-to-face-mexico-mls-5570182044001
                                               381.   https://www.mlssoccer.com/video/soccer-and-basketball-stars-come-together-at-the-steve-nash-founda-5570207352001
153. New Beginnings             SR0000875005   382.   http://www.instagram.com/p/BPzBZm8D0Rx
                                               383.   https://www.youtube.com/watch?v=aJAlb4jttB0
                                               384.   https://www.youtube.com/watch?v=gFSW9HbLk7c
                                               385.   https://www.lagalaxy.com/video/highlights-the-best-of-ashley-cole-in-2016-5574238162001
                                               386.   https://www.lagalaxy.com/video/the-best-of-ashley-cole-in-2017-5701369790001
                                               387.   http://www.facebook.com/lagalaxy/videos/10154072342582035/
                                               388.   https://www.lagalaxy.com/video/on-this-day-in-2016-the-la-galaxy-signed-ashley-cole-5574264514001
                                               389.   http://www.facebook.com/lagalaxy/videos/10153898081292035/
                                               390.   http://www.instagram.com/p/Bdf_tyHFGHS
                                               391.   http://www.facebook.com/lagalaxy/videos/10154919905902035/
                                               392.   http://www.instagram.com/p/BNh7X50gyWD
154. Next Level                 SR0000716462   393.   https://www.mlssoccer.com/video/keep-up-with-your-favorite-players-on-instagram-and-twitter-24-und-5570025842001
155. Next to You                SR0000843103   394.   https://www.youtube.com/watch?v=MCnplfe1hec
                                               395.   https://www.youtube.com/watch?v=pfjsRYgNI3o
                                               396.   https://www.lagalaxy.com/video/la-galaxy-land-in-kansas-city-pres-by-jlab-audio-5844537576001
                                               397.   https://www.lagalaxy.com/video/la-galaxy-travel-north-to-san-jose-on-the-road-presented-by-jlab-a-5803763059001
                                               398.   http://www.instagram.com/p/BohtsXunGQE
                                               399.   http://www.facebook.com/lagalaxy/videos/752878218388098/
156. Night Stroll               SR0000928489   400.   https://www.mlssoccer.com/video/rsl-play-the-villain-philly-get-vintage-andre-blake-more-in-conference-semifinal
157. Nightswag                  SR0000842532   401. https://www.mlssoccer.com/video/etihad-airways-player-of-the-month-nominees-june-5570215047001
                                               402. https://www.youtube.com/watch?v=TUm5zy6bDNE
158. Now Trending               SR0000883352   403. https://www.youtube.com/watch?v=pTy45o0kakE
159. Number One                 SR0000718359   404. https://www.youtube.com/watch?v=8W9q3yvmCeg
160. NYC Electro Swing          SR0000879413   405. https://www.mlssoccer.com/video/everything-you-missed-in-week-30-on-extratime-live-driven-by-conti-5577381206001
                            Case 2:23-cv-01173-SPG-PVC Document 1-1 Filed 02/16/23 Page 12 of 16 Page ID #:25



161. Olympian                    SR0000694559   406. https://www.youtube.com/watch?v=lJcx1h1gRQM
162. Optimistic Trendy Rock      SR0000813790   407. https://www.sjearthquakes.com/video/watch-quakes-academy-player-mario-anaya-featured-on-telemundo-5576229389001
163. Out Of Bounds               SR0000274119   408. https://www.youtube.com/watch?v=PhKDtIATDQM
                                                409. http://www.facebook.com/houstondynamo/videos/10152822497211150
164. Phoenix Rising              SR0000826282   410. https://www.mlssoccer.com/video/breaking-down-all-the-storylines-you-need-to-follow-for-the-2018-s-5742300535001
165. Pizz and Bobs               SR0000839070   411. https://www.whitecapsfc.com/video/meet-the-man-behind-the-headband-globetrotting-bolanos-settling-in-5577738629001
166. Pong Pong                   SR0000814184   412. https://www.mlssoccer.com/video/dynamo-s-tyler-deric-takes-on-dolphins-jay-ajayi-at-the-ea-bowl-in-5570420291001
167. Popcorn Fantasia            SR0000905409   413. https://www.youtube.com/watch?v=quSYVHDoOUI
168. Princess Of The Wind        SR0000878321   414.   https://www.mlssoccer.com/video/all-access-watch-seattle-sounders-celebrate-their-first-ever-mls-c-5570395998001
                                                415.   https://www.youtube.com/watch?v=hNVqzVfWDj0
169. Progression                 SR0000842566   416.   https://www.mlssoccer.com/video/mls-sum-careers-5570173096001
                                                417.   https://www.youtube.com/watch?v=ZvR8kib14U0
                                                418.   https://www.mlssoccer.com/video/bau-daigh-warrior-part-1-the-rise-of-bau-daigh-5570206298001
170. Pursuit                     SR0000694777   419.   https://www.youtube.com/watch?v=kOomvbconqQ
171. Raise That Level Up         SR0000890976   420. https://www.youtube.com/watch?v=JHLosl7cTrs
172. Razor                       SR0000254047   421. https://www.youtube.com/watch?v=QeYHbmHVx1M
173. Red Skies                   SR0000698061   422. https://www.youtube.com/watch?v=vylGqPECBFk
174. Represent                   SR0000826282   423. https://www.mlssoccer.com/video/breaking-down-all-the-storylines-you-need-to-follow-for-the-2018-s-5742300535001
175. Respect                     SR0000826282   424.   https://www.mlssoccer.com/video/mls-returns-showcasing-younger-talent-week-1-6029438501001
                                                425.   https://www.youtube.com/watch?v=JHLosl7cTrs
176. Restless Wondering          SR0000920858   426.   https://www.youtube.com/watch?v=HLrqydR4er0
                                                427.   https://www.lagalaxy.com/video/from-liverpool-to-los-angeles-episode-3-the-arrival-5573949689001
                                                428.   https://www.lagalaxy.com/video/from-liverpool-to-los-angeles-episode-4-the-unveiling-5573957312001
                                                429.   https://www.lagalaxy.com/video/landon-donovan-on-steven-gerrard-he-s-a-tremendous-player-from-liv-5573957299001
                                                430.   http://www.facebook.com/lagalaxy/videos/10152872582712035/
                                                431.   https://www.youtube.com/watch?v=scdX-zG_-0s
                                                432.   https://www.youtube.com/watch?v=aunY6v_pmmE
                                                433.   http://www.facebook.com/lagalaxy/videos/10152871481882035/
177. Revolution                  SR0000842575   434.   http://www.facebook.com/lagalaxy/videos/10152881337847035/
                                                435.   https://www.lagalaxy.com/video/from-liverpool-to-los-angeles-episode-5-the-debut-5573955228001
                                                436.   http://www.facebook.com/lagalaxy/videos/10154431241602035/
                                                437.   https://www.lagalaxy.com/video/the-field-is-set-get-ready-for-the-la-galaxy-to-take-on-the-housto-5574356562001
                                                438.   https://www.youtube.com/watch?v=kOXkKHw_dIA
                                                439.   https://www.youtube.com/watch?v=5tRT3w171pY
178. Ripples In Time             SR0000877058   440.   https://www.youtube.com/watch?v=7boaQ14MJJk
179. Rise Of The Downfall        SR0000850746   441.   https://www.cfmontreal.com/video/bande-annonce-atlanta-accueille-portland-dans-la-finale-de-la-coup-5974816963001
                                                442.   http://www.facebook.com/ClubdeFootMTL/videos/626231297771695/
                                                443.   https://www.cfmontreal.com/video/bande-annonce-le-match-des-etoiles-v-juventus-sur-tva-sports-5815798003001
180. Rising Emotions             SR0000716494   444.   http://www.facebook.com/sanjoseearthquakes/videos/319682312343988/
                          Case 2:23-cv-01173-SPG-PVC Document 1-1 Filed 02/16/23 Page 13 of 16 Page ID #:26



181. Rivals                    SR0000783046   445. https://www.youtube.com/watch?v=B5LSO5ZTDvg
182. Rockstar                  SR0000918752   446. https://www.youtube.com/watch?v=2zrRgY-MUTM
183. Rough Rider               SR0000814184   447.   https://www.youtube.com/watch?v=dq1bHPX3hvw
                                              448.   https://www.youtube.com/watch?v=XAjBTJQDpZg
184. Run For Your Lives        SR0000723504   449.   https://www.youtube.com/watch?v=NEKa-qEGqnw
                                              450.   http://www.instagram.com/p/B3ff2OkhYq0
185. Running in Circles        SR0000694565   451.   https://www.youtube.com/watch?v=g3z4W0hal4U
186. Salvia Seduction          SR0000695715   452. https://www.timbers.com/video/timbers-in-30-oct-18-2013-5581162155001
187. Sciences                  SR0000844797   453. https://www.lagalaxy.com/video/taste-of-stubhub-2015-5573980780001
188. Scuzzbucket               SR0000698799   454. https://www.youtube.com/watch?v=vSSEmziFd90
189. Search for Freedom        SR0000685670   455. https://www.youtube.com/watch?v=YOz9ehuB3-I
190. Shifting Gears            SR0000842566   456. https://www.mlssoccer.com/video/bau-daigh-warrior-part-2-bau-daigh-in-brazil-5570207337001
                                              457. https://www.youtube.com/watch?v=IFFo-YL5OJY
191. Simplicity                SR0000864471   458. https://www.lagalaxy.com/video/support-the-ronald-mcdonald-house-at-lucaknowsheart-night-on-aug-2-5574202197001
192. So Good Together          SR0000863013   459. https://www.youtube.com/watch?v=Oc7i3QnXjPY
193. Soccer Battucada          SR0000931613   460. http://www.facebook.com/MLS/videos/267880068334772/
194. Soldier Of Fortune        SR0000717514   461. http://www.facebook.com/MLS/videos/10154955551008887/
195. Space Garage              SR0000814230   462.   https://www.youtube.com/watch?v=IJerVVqyIY8
                                              463.   https://www.mlssoccer.com/video/nycfc-fight-back-in-hudson-river-derby-mls-review-show-week-17-5570477077001
196. Stadium Samba             SR0000843179   464.   https://www.mlssoccer.com/video/espanol-la-llegada-de-frank-lampard-y-las-estrellas-de-mls-zona-mi-5569977945001
                                              465.   https://www.mlssoccer.com/video/ny-red-bulls-los-superlideres-y-boniek-garcia-encuentra-su-sonrisa-5569267333001
                                              466.   https://www.mlssoccer.com/video/guille-de-vuelta-a-la-mls-y-rumbo-a-brasil-2014-zona-mixta-5569255803001
                                              467.   https://www.mlssoccer.com/video/batalla-por-la-supremacia-y-quien-ganara-la-copa-abierta-de-los-ee-5569278486001
                                              468.   https://www.youtube.com/watch?v=EqBPZXix4YI
                                              469.   https://www.mlssoccer.com/video/ultima-ronda-de-eliminatorias-y-sporting-kc-rumbo-a-los-playoffs-z-5569287634001
                                              470.   https://www.mlssoccer.com/video/goleadas-en-la-mls-y-podra-panama-causar-un-aztecazo-zona-mixta-5569278127001
                                              471.   https://www.mlssoccer.com/video/golazo-en-8-segundos-y-piojo-herrera-al-rescate-zona-mixta-5569659471001
197. Step Aside                SR0000779615   472.   https://www.mlssoccer.com/video/audi-2021-mls-cup-playoffs-are-here-what-awaits
                                              473.   https://www.youtube.com/watch?v=pa00j_qzTmY
198. Sugar High                SR0000863866   474.   https://www.youtube.com/watch?v=fVzmvoefZs0
                                              475.   https://www.mlssoccer.com/video/week-24-rewind-review-show-explains-it-all
199. Summer Heat               SR0000844388   476.   http://www.instagram.com/p/BmzvGKlhN00
                                              477.   https://www.youtube.com/watch?v=7Xf-x4MMMqw
200. Super Fabius Games        SR0000859036   478.   http://www.instagram.com/p/-PSQ-chRdK
                                              479.   https://www.youtube.com/watch?v=kkxG3OO-iX0
                                              480.   http://www.facebook.com/lagalaxy/videos/10153095795262035/
                                              481.   http://www.facebook.com/lagalaxy/videos/10153124239167035/
201. Super Match               SR0000700201   482.   https://www.youtube.com/watch?v=DIVSvYtld-U
202. Sweaty Dance Rock         SR0000841455   483. https://www.youtube.com/watch?v=qKNPZd2N7l4
                          Case 2:23-cv-01173-SPG-PVC Document 1-1 Filed 02/16/23 Page 14 of 16 Page ID #:27



                                              484. https://www.mlssoccer.com/video/top-5-goals-of-2014-volleys-year-in-review-5570106648001
203. Take A Chance             SR0000926542   485. https://www.mlssoccer.com/video/real-life-skill-games-ep-6-brian-dunseth-vs-jamie-smith-5570245067001
204. Take Me To The Sea        SR0000842553   486.   https://www.youtube.com/watch?v=M1fgErh8msY
                                              487.   https://www.youtube.com/watch?v=8m97RLQgFik
205. Take Your Time            SR0000875005   488.   https://www.youtube.com/watch?v=XbYKPTA6yvo
                                              489.   https://www.youtube.com/watch?v=rqE0bosxKQs
                                              490.   https://www.youtube.com/watch?v=1UPVdTxS1IE
                                              491.   https://www.youtube.com/watch?v=9_TcT_Fy4BA
                                              492.   https://www.youtube.com/watch?v=nBqVBM0TFXE
                                              493.   https://www.youtube.com/watch?v=J8sDlAH4U0Y
206. Tech Life                 SR0000847935   494.   https://www.youtube.com/watch?v=r76TmNIg7cc
                                              495.   http://www.facebook.com/lagalaxy/videos/189237701977442/
                                              496.   https://www.lagalaxy.com/video/match-in-a-minute-la-galaxy-secure-vital-three-points-from-minneso-5851919439001
                                              497.   http://www.instagram.com/p/BpQG4HrDi75
207. The Birth of Grace        SR0000842575   498.   https://www.youtube.com/watch?v=NbwFH_MFx3Y
                                              499.   http://www.facebook.com/lagalaxy/videos/10152890397567035/
208. The Brave                 SR0000814330   500.   https://www.mlssoccer.com/video/behind-the-scenes-sporting-kc-lifts-the-us-open-cup-5586552335001
209. The Bridge                SR0000844388   501. https://www.youtube.com/watch?v=XTXk7IHGuoI
210. The Carnival Call         SR0000811659   502. http://www.instagram.com/p/BkLnSx6h1XW
211. The Dream Of A Lifetime   SR0000782055   503.   http://www.facebook.com/MLS/videos/2118788758384375/
                                              504.   https://www.youtube.com/watch?v=iawJGlbOh3g
212. The Drop                  SR0000844295   505.   https://www.fcdallas.com/video/watch-get-set-for-fc-dallas-at-houston-dynamo-7-21-18-5810878230001
                                              506.   http://www.facebook.com/fcdallas/videos/10155299044831152/
213. The Gardens               SR0000844388   507.   http://www.facebook.com/lagalaxy/videos/10155386057002035/
                                              508.   https://www.lagalaxy.com/video/representing-los-angeles-how-a-taco-truck-unites-la-galaxy-fans-si-5816739358001
                                              509.   https://www.youtube.com/watch?v=Ax_Y1hjtp1U
214. The Greatest Challenge    SR0000636961   510.   https://www.mlssoccer.com/video/david-villa-400th-goal-tribute-5787157802001
215. The L Is Down             SR0000844388   511.   https://www.youtube.com/watch?v=IS_1j0sntRI
                                              512.   http://www.instagram.com/p/BmPVEiGh06O
                                              513.   https://www.lagalaxy.com/video/representing-los-angeles-how-one-family-bonds-over-the-la-galaxy-s-5819664380001
                                              514.   http://www.facebook.com/lagalaxy/videos/10155400163507035/
216. The Punisher              SR0000698834   515.   https://www.whitecapsfc.com/video/battle-of-the-north-the-rivalry-is-real-5577780455001
217. They Don't Understand     SR0000914221   516. https://www.youtube.com/watch?v=XrUFTQzTpbQ
218. Timbeando                 SR0000926512   517. http://www.facebook.com/MLS/videos/539680363631776/
219. Time Flies                SR0000926526   518. https://www.youtube.com/watch?v=0Oh6SThscd8
220. Too Deep                  SR0000862564   519.   https://www.mlssoccer.com/video/usa-mls2020-mag-01-6142077162001
                                              520.   https://www.youtube.com/watch?v=lbMiyu_I3Ss
221. Tuff Tuff                 SR0000905410   521.   http://www.instagram.com/p/BSM0RG5DGVn
                                              522.   http://www.instagram.com/p/BBqtZB_BRaI
                                              523.   http://www.facebook.com/lagalaxy/videos/10153241224867035/
                              Case 2:23-cv-01173-SPG-PVC Document 1-1 Filed 02/16/23 Page 15 of 16 Page ID #:28



                                                  524.   http://www.facebook.com/lagalaxy/videos/10154222095017035/
                                                  525.   https://www.youtube.com/watch?v=80eI-UKMx04
                                                  526.   https://www.lagalaxy.com/video/sebastian-lletget-thanks-fans-for-their-support-following-long-ter-5574296282001
222. Turn It Up                    SR0000846119   527.   https://www.youtube.com/watch?v=9STHClsI2pg
223. Twilight Party Starter        SR0000844814   528. https://www.youtube.com/watch?v=PfnaI9q0kC4
224. Ultra HD                      SR0000883352   529. https://www.youtube.com/watch?v=9WxcswrLY-A
                                                  530. https://www.mlssoccer.com/video/usa-mls2020-hl-w06-6184115546001
225. United We Stand               SR0000853656   531. https://www.mlssoccer.com/video/2018-fcc-brand-reveal-final-5941596349001
226. Unity                         SR0000882383   532.   http://www.facebook.com/MLS/videos/2991166610935500/
                                                  533.   http://www.instagram.com/p/B7WVzh9hNOA
227. Unstoppable                   SR0000851350   534.   http://www.facebook.com/ClubdeFootMTL/videos/10156575385825979/
                                                  535.   https://www.cfmontreal.com/video/l-impact-affronte-new-york-city-fc-mercredi-au-yankee-stadium-5807132060001
                                                  536.   https://www.youtube.com/watch?v=ruXVpy8Tpn8
228. Upbeat Space Odyssey          SR0000861651   537.   https://www.youtube.com/watch?v=ugyxMIiyAN8
229. Uproarious                    SR0000786228   538.   https://www.mlssoccer.com/video/harrison-braces-nyc-comeback-mls-review-show-week-9-5570444142001
                                                  539.   https://www.youtube.com/watch?v=E-AI6boQkkA
                                                  540.   https://www.mlssoccer.com/video/nycfc-and-sporting-kc-climb-the-standings-mls-review-show-week-14-5570461737001
                                                  541.   https://www.mlssoccer.com/video/toronto-extend-east-lead-caps-shock-dallas-mls-review-show-week-21-5577364337001
                                                  542.   https://www.youtube.com/watch?v=gD7sHz6iGRI
                                                  543.   https://www.youtube.com/watch?v=Sl86fQcoC0U
230. Urban Backstreets             SR0000883337   544.   https://www.youtube.com/watch?v=D1h7Vjaztgs
231. Urban Trouble                 SR0000883337   545. https://www.youtube.com/watch?v=T8vpjQigRvg
232. Velvet Nights                 SR0000850757   546. https://www.houstondynamofc.com/video/houston-dash-makes-history-with-tigres-femenil-6093598004001
233. Vermeille                     SR0000841278   547. https://www.mlssoccer.com/video/heineken-rivalry-week-nycfc-and-new-york-red-bulls-ready-for-nyc-s-5570206342001
234. Very Catchy                   SR0000685939   548. https://www.youtube.com/watch?v=P86JjBiGlBs
235. Victory Beckons               SR0000773263   549. https://www.youtube.com/watch?v=BxBYOem_A7g
236. Victory One                   SR0000694559   550. https://www.youtube.com/watch?v=uw6h4e0OVLA
237. Walking Cat                   SR0000814184   551. https://www.mlssoccer.com/video/chris-wingert-feelin-the-flow-in-slc-beat-the-pro-pres-by-heineken-5631903733001
238. Walking The Walk              SR0000770805   552. https://www.youtube.com/watch?v=in7uhAciWy8
239. Wanna Do                      SR0000842389   553. https://www.youtube.com/watch?v=ADmPfWwgZTs
240. War is Coming                 SR0000631838   554.   https://www.youtube.com/watch?v=LHEe63ksN3Y
                                                  555.   https://www.youtube.com/watch?v=TQhPtyhPiDY
241. Wardance                      SR0000864427   556.   https://www.mlssoccer.com/video/the-best-goals-in-mls-from-october-goals-of-the-month-6207765344001
                                                  557.   https://www.youtube.com/watch?v=ljssNZyfKbQ
                                                  558.   https://www.mlssoccer.com/video/mls-november-goals-of-the-month-v2-6209670925001
                                                  559.   https://www.youtube.com/watch?v=R6kIKmTmZ8A
                                                  560.   https://www.mlssoccer.com/video/all-the-best-goals-from-september-in-mls-goals-of-the-month-6197616048001
                                                  561.   https://www.youtube.com/watch?v=9ScP80Z927Y
                            Case 2:23-cv-01173-SPG-PVC Document 1-1 Filed 02/16/23 Page 16 of 16 Page ID #:29



                                                562.   http://www.facebook.com/MLS/videos/384107706273753/
                                                563.   http://www.facebook.com/MLS/videos/615816292419763/
242. Warp The Strings            SR0000920858   564.   http://www.instagram.com/p/BCg873gBRZ0
                                                565.   http://www.facebook.com/lagalaxy/videos/10153277159972035/
                                                566.   https://www.youtube.com/watch?v=l3jwCzPHGLs
243. Waterfall Dream             SR0000703388   567.   https://www.mlssoccer.com/video/inside-soccer-monthly-may-2013-5570015395001
244. We Are Warriors             SR0000859833   568.   http://www.facebook.com/lagalaxy/videos/10155263511477035/
                                                569.   https://www.lagalaxy.com/video/la-galaxy-to-celebrate-stubhub-center-s-15th-anniversary-at-match-5780403849001
                                                570.   http://www.facebook.com/lagalaxy/videos/10155198026097035/
                                                571.   https://www.youtube.com/watch?v=qnZ7O7Oyn0g
245. We Are You Now              SR0000931681   572.   http://www.twitter.com/clubdefootmtl/status/1280590836175114240
246. We Could Be Kings           SR0000859833   573. https://www.mlssoccer.com/video/behind-the-scenes-sporting-kc-lifts-the-us-open-cup-5586552335001
247. We'll Be Alright            SR0000813627   574. https://www.mlssoccer.com/video/from-avaya-to-stanford-for-the-cali-clasico-get-me-in-there-san-jo-5570351729001
248. When I'm Next To You        SR0000906741   575. https://www.mlssoccer.com/video/review-show-week-10-6188542825001
                                                576. https://www.youtube.com/watch?v=uiSUKaUpQhE
249. Who's That                  SR0000932037   577. https://www.whitecapsfc.com/video/lg2-bell-whitecaps-tv30s-en-170302-0db-youtube-e9fywk-hd720p-mp4-5577775378001
250. Yolo Swag                   SR0000845689   578. https://www.sjearthquakes.com/video/watch-breaking-down-wondo-s-record-breaking-achievement-quakes-iq-6040347728001
                                                579. https://www.youtube.com/watch?v=5uTjvuKMsfk
251. You Were Born for This      SR0000697437   580. https://www.youtube.com/watch?v=YnTtyec5ztU
252. Young Rookie                SR0000752755   581. http://www.facebook.com/MLS/videos/10155115025768887/
253. Youngster Trends            SR0000905607   582. http://www.facebook.com/MLS/videos/2844154432533966/
                                                583. https://www.mlssoccer.com/video/nashville-sc-s-dax-mccarty-explains-how-to-have-a-successful-mls-c-6212039206001
